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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

KEVIN J. MCKEE,                     )
                                    )
        Plaintiff,                  )
                                    )
v.                                  )                 Case No.: 5:19-cv-00161-OLG
                                    )
ROBERTS FAMILY HOMES, LLC           )
d/b/a/ TEXAS BUILT MOBILE HOMES, )
                                    )
        Defendant.                  )
____________________________________/

                AGREED MOTION FOR DISMISSAL WITH PREJUDICE

       The parties move this Court for an Order dismissing this cause with prejudice to refile same

as to any claims that were, or could have been, asserted in this case. In support thereof, Plaintiff

and Defendant would show that they have settled the outstanding disputes between them.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff and Defendant respectfully request

that the Court dismiss this cause with prejudice to all claims that were brought, or could have been

brought, in this action with each side bearing its own attorneys’ fees and costs.


                                              Respectfully Submitted:

                                              /s/ Gabrielle E. Klepper
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                                              and

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